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                            UNITED STATES DISTRICT COURT

                         NORTHERN DISTRICT OF CALIFORNIA

                                       CIVIL MINUTES

 Date: June 15, 2023            Time: 12 Minutes Judge: YVONNE GONZALEZ ROGERS
 Case No.: 22-md-03047-YGR      Case Name: IN RE SOCIAL MEDIA MDL



Attorney for Plaintiff: Jennie Lee Anderson, via Zoom Videoconference
Attorney for Defendant: Ashley Simonsen, via Zoom Videoconference

 Deputy Clerk: Edwin Cuenco                            Court Reporter: Not Recorded


           PROCEEDINGS: Videoconference meeting with liaison counsel - HELD


The meeting was called to order at 11:20 AM.

The Court will send out instructions to parties on how to link postings on the docket pertaining to
the Sealing Order.

Counsel for the Defendant is excused at 11:24 AM.

The Court ordered the Plaintiff to provide notice on the forming of a subcommittee and to update
the Court at the next conference.

The meeting adjourned at 11:32 AM.
